                                                                                 03/19/2019

                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION


                                                     CASE NO. 3:18-cr-00025
  UNITED STATES OF AMERICA,
         v.                                          ORDER
  BENJAMIN DALEY, ET AL.,                            JUDGE NORMAN K. MOON
                                   Defendants.


        This matter is before the Court upon Defendant Benjamin Daley’s unopposed motion for

 an extension of time to file a reply brief in support of their motion to dismiss the indictment.

 (Dkt. 81). Defendant seeks a one-week extension until March 27, 2019. Finding good cause to

 do so, and noting agreement between the parties, the Court hereby GRANTS the motion.

 Defendants’ reply brief(s) shall be due on or before March 27, 2019.

        It is so ORDERED.

        The Clerk of the Court is hereby directed to send a certified copy of this order to all

 counsel of record.

        Entered this ______
                      19th day of March, 2019.




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